Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 1 of 29 Page ID #:365



   1   Korey A. Nelson (admitted pro hac vice)
   2   knelson@burnscharest.com
       Lydia A. Wright (admitted pro hac vice)
   3   lwright@burnscharest.com
   4   BURNS CHAREST LLP
       365 Canal Street, Suite 1170
   5   New Orleans, LA 70130
       Telephone: (504) 799-2845
   6
       Facsimile: (504) 881-1765
   7
       Counsel for Plaintiff
   8
       Additional Counsel on Signature Page.
   9
  10
  11                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  12
  13
  14    RAUL NOVOA, individually and on            Civil Action No. 5:17-cv-02514
  15    behalf of all others similarly situated,
  16                     Plaintiff,                FIRST AMENDED COMPLAINT
  17    v.                                         FOR DECLARATORY AND
                                                   INJUNCTIVE RELIEF AND
  18    THE GEO GROUP, INC.,                       DAMAGES
  19
                         Defendant.
  20                                               CLASS ACTION
  21
  22                                  PRELIMINARY STATEMENT
  23
              1.      This action arises from systematic and unlawful wage theft, unjust
  24
  25   enrichment, and forced labor at the nation’s deadliest civil immigration detention

  26   facility—California’s Adelanto Detention Center (the “Adelanto Facility” or the
  27
       “Facility”).
  28
                                                   1                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 2 of 29 Page ID #:366



   1         2.     The Adelanto Facility is a civil immigration detention facility owned and
   2
       operated for profit by Defendant The GEO Group, Inc. (“GEO”).
   3
   4
             3.     GEO is a multibillion-dollar corporation that owns and operates detention

   5   facilities around the world. GEO has made tens of millions of dollars in profits from its
   6
       contract to run the Adelanto Facility.
   7
             4.     Although it is contractually required to provide for all essential detention
   8
   9   services at the Facility, GEO uses the nearly-free labor of detainees to perform these
  10
       services in order to maximize profits.
  11
             5.     GEO pays detainees just $1 per day to maintain and operate the Facility.
  12
  13         6.     This labor is not voluntary in any meaningful sense. GEO maintains a
  14   corporate policy and uniform practice at the Adelanto Facility of withholding necessary
  15
       care from its detainees to ensure a ready supply of available labor needed to operate the
  16

  17   Facility. As a result, detainees are forced to submit to GEO’s $1 per day scheme in order
  18   to buy the basic necessities – including food, water, and hygiene products – that GEO
  19
       refuses to provide for them.
  20
  21         7.     GEO maintains a corporate policy and uniform practice at the Adelanto

  22   Facility of threatening detainees who refuse to work with disciplinary segregation or
  23
       solitary confinement, reporting their actions to the United States Immigration and
  24
  25
       Customs Enforcement (“ICE”), or referring them for criminal prosecution. These

  26   abusive practices and threats of abuse ensure that detainees will continue working for
  27
       subminimum wages.
  28
                                                   2                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 3 of 29 Page ID #:367



   1          8.      GEO significantly reduces its labor costs and expenses, and increases its
   2
       already vast profits, by unlawfully forcing and coercing detainees to perform labor at
   3
   4
       subminimum wages. These policies and practices violate California minimum wage law,

   5   the California Unfair Competition Law, and federal and state Trafficking Victims
   6
       Protection Acts, which prohibit forced labor.
   7
              9.      Plaintiff Raul Novoa, individually and on behalf of all others similarly
   8
   9   situated, brings this class action lawsuit to stop the economic exploitation of detainees
  10
       at the Adelanto Facility, to recover unpaid wages, and to remedy the unjust enrichment
  11
       resulting from GEO’s unlawful failure to pay its detainee workforce legal wages.
  12
  13                              JURISDICTION AND VENUE
  14          10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
  15
       because this action arises under the Trafficking Victims Protection Act, 18 U.S.C. §§
  16

  17   1589 et seq.
  18          11.     This Court has subject matter jurisdiction pursuant to the Class Action
  19
       Fairness Act of 2005, 28 U.S.C. § 1332(d), because at least one class member is of diverse
  20
  21   citizenship from one defendant; there are more than 100 class members; the aggregate

  22   amount in controversy exceeds $5,000,000; and minimal diversity exists.
  23
              12.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because the
  24
  25
       events or omissions giving rise to the claims occurred in this District.

  26
  27
  28
                                                    3                             5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 4 of 29 Page ID #:368



   1          13.    This Court has personal jurisdiction over GEO because the corporation
   2
       regularly conducts business in California and has sufficient minimum contacts with
   3
   4
       California.

   5          14.    Plaintiff requests that this Court exercise supplemental jurisdiction
   6
       pursuant to 28 U.S.C. § 1367 over their state law claims arising under the California
   7
       Minimum Wage Order, the California Unfair Competition Law, and California common
   8
   9   law.
  10
                                              PARTIES
  11
              15.    Plaintiff Raul Novoa is an adult resident of Los Angeles, California. He is
  12
  13   a lawful permanent resident with longstanding family and community ties in the Los
  14   Angeles area. From 2012 through 2015, Mr. Novoa was detained at the Adelanto
  15
       Facility. During those three years, he was employed by GEO as a janitor and a barber.
  16

  17   He was paid only $1 per day for his labor, regardless of how many hours he worked.
  18          16.    Defendant GEO is a for-profit corporation providing correctional,
  19
       detention, and community reentry services. GEO is a Florida corporation, with its
  20
  21   principal office located at 624 NW 53rd Street, Suite 700, Boca Raton, Florida 33487.

  22                               FACTUAL ALLEGATIONS
  23
       A.     Immigration detention is civil—not criminal.
  24
  25          17.    Each year, hundreds of thousands of individuals are detained in

  26   geographically isolated immigration detention facilities while awaiting immigration or
  27
       citizenship status determinations. These detainees include U.S. citizens, lawful
  28
                                                    4                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 5 of 29 Page ID #:369



   1   permanent residents (green card holders) with longstanding family and community ties,
   2
       survivors of torture, asylum seekers, victims of human trafficking, children, and
   3
   4
       pregnant women.

   5          18.    Some detainees, like Mr. Novoa, were brought to the United States as
   6
       children. And thousands ultimately have their United States citizenship or legal residency
   7
       affirmed by an immigration court or federal judge.
   8
   9          19.    Immigration violations are civil violations, and immigration detention is
  10
       civil in nature.1 Many detainees have no criminal history at all.
  11
              20.    Notwithstanding immigration detention’s civil nature and purpose,
  12
  13   detainees are often subjected to prison-like conditions. According to Dora Schriro,
  14   former head of ICE’s Office of Detention Policy and Planning, most detainees are held
  15
       – systematically and unnecessarily – under circumstances inappropriate for immigration
  16

  17   detention’s noncriminal purposes.2 Detainees are frequently subjected to punitive and
  18   long-term solitary confinement, inadequate medical care, sexual and physical assault, and
  19
       other harsh conditions of confinement, all without a conviction.
  20
  21          21.    Many detainees submit to deportation simply to obtain release from these

  22   intolerable conditions, even when they have valid claims to remain in the United States,
  23
       including claims to asylum or other discretionary relief.
  24
  25   1
         See Fong Yue Ting v. United States, 149 U.S. 698, 728–30 (1893) (observing that
  26   deportation proceedings have “all the elements of a civil case” and are “in no proper
  27
       sense a trial or sentence for a crime or offense”).
       2
         Dora Schriro, U.S. Dep’t of Homeland Sec., Immigration Detention Overview and
  28   Recommendations 10, 15 (2009).
                                                       5                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 6 of 29 Page ID #:370



   1   B.       The privatization of immigration detention and GEO’s economic windfall.
   2
                22.   Immigration detention expanded roughly eightfold over the past two
   3
   4
       decades, from a capacity of 5,532 detention beds in 19943 to a current capacity of over

   5   41,000.4
   6
                23.   During the same period, GEO and other private prison corporates have
   7
       spent tens of millions of dollars on lobbying efforts.5
   8
   9            24.   As immigration detention has expanded, private prison corporations,
  10
       particularly GEO, have gained an increasing share of the contracts for new detention
  11
       beds.6
  12
  13
  14
  15
  16

  17
       3
         Sharita Gruberg, How For-Profit Companies are Driving Immigration Detention
  18   Policies, Center for American Progress (Dec. 18, 2015), available at
  19   https://www.americanprogress.org/issues/immigration/reports/2015/12/18/127769
       /how-for-profit-companies-are-driving-immigration-detention-policies/
  20   4
         Jenny Jarvie, “This industry stands to benefit from Trump’s crackdown on the
  21   border,” Los Angeles Times (Feb. 14, 2017) available at
       http://www.latimes.com/nation/la-na-immigrant-detention-20170214-story.html;
  22   5
         Michael Cohen, How for-profit prisons have become the biggest lobby no one is
  23   talking about, Washington Post (Apr. 28, 2015), available at
       https://www.washingtonpost.com/posteverything/wp/2015/04/28/how-for-profit-
  24   prisons-have-become-the-biggest-lobby-no-one-is-talking-
  25   about/?utm_term=.25de04ae71f9
       6
         Bethany Carson & Eleana Diaz, Payoff: How Congress Ensures Private Prison Profit
  26   with an Immigrant Detention Quota, Grassroots Leadership (Apr. 2015) at 4, Chart 1-
  27
       AA, available at
       https://grassrootsleadership.org/sites/default/files/reports/quota_report_final_digita
  28   l.pdf
                                                    6                       5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 7 of 29 Page ID #:371



   1         25.    Contracts with ICE accounted for 23.1% of GEO’s revenues in 2016, up
   2
       from 17.7% in 2015.7 GEO officials expect these lucrative ICE contracts to account for
   3
   4
       a significant percentage of the corporation’s ongoing revenues. 8

   5         26.    GEO’s 2016 revenues were over $2 billion, and its stock is publicly traded
   6
       on the New York Stock Exchange.
   7
             27.    GEO’s economic windfall, and the profitability of its immigration
   8
   9   detention enterprise, arises from its policy of systemically withholding necessary case
  10
       from detainees to ensure a readily available, captive labor force that cleans, maintains,
  11
       and operates its facilities for sub-minimal wages under threat of solitary confinement
  12
  13   and abuse of legal process. Without this nearly free detainee labor, GEO’s windfall from
  14   immigrant detention would be substantially decreased.
  15
       C.    GEO withholds necessary care from detainees at the Adelanto Facility.
  16

  17         28.    Since 2011, GEO has contracted with ICE to operate the Adelanto
  18   Facility, which is a 1,940-bed immigration detention facility in Adelanto, California.
  19
       More than 73,000 detainees have passed through the Facility.
  20
  21         29.    The Adelanto Facility is notorious for its poor treatment of detainees.

  22         30.    For example, in November 2011, shortly after the Adelanto Facility
  23
       opened, an ICE annual review found that the facility’s “medical officials were not
  24
  25
  26
       7
  27
         The GEO Group, Inc., 2017 10-K form at 36, available at
       http://www.snl.com/Cache/c38242453.html.
       8
  28     Id.
                                               7                             5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 8 of 29 Page ID #:372



   1   conducting detainee health appraisals within 14 days of arrival, and registered nurses
   2
       were performing health assessments” without proper training or certification.9
   3
   4
             31.    Ten months later, ICE’s Office of Detention Oversight found that

   5   Adelanto Facility officials often delay responding to detainee requests for medical care
   6
       and fail to promptly review medical records.10 That report also said that the death of a
   7
       detainee in March 2012 resulted from “egregious errors” by medical staff and could have
   8
   9   been prevented.
  10
             32.    In 2014, the Office of Detention Oversight found the Adelanto Facility
  11
       deficient in 26 competency areas, including 16 related to the facility’s efforts to prevent
  12
  13   and intervene in sexual abuse.11
  14         33.    In 2015, more than two dozen members of Congress wrote a letter to
  15
       the U.S. Justice Department and ICE officials expressing concerns about reports of
  16

  17   medical neglect at the Facility.12 That same year, 26 detainees resorted to a two-week
  18   hunger strike to protest GEO’s failure to provide adequate care there.13
  19

  20   9
         https://www.ice.gov/doclib/foia/odo-compliance-
  21   inspections/adelantoCorrectionalFac_Adelanto-CA-Sept_18-20-2012.pdf
       10
          Id.
  22   11
          U.S. Immigration and Customs Enforcement, Office of Professional Responsibility,
  23   Office of Oversight Detention, “Compliance Inspection,” (July 2014), available at
       https://www.ice.gov/doclib/foia/odo-compliance-inspections/2014AdelantoJuly.pdf
  24   12
          Kate Linthicum, “Citing neglect, lawmakers urge halt to migrant detention center
  25   expansion,” Los Angeles Times (July 14, 2015), available at
       http://beta.latimes.com/local/lanow/la-me-ln-adelanto-immigrant-detention-
  26   20150713-story.html
       13
  27
          Kate Linthicum, “Immigrants end hunger strike at Adelanto detention facility,” Los
       Angeles Times (Nov. 16, 2015), available at http://beta.latimes.com/local/lanow/la-
  28   me-ln-adelanto-hunger-strike-ends-20151116-story.html
                                                    8                       5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 9 of 29 Page ID #:373



   1          34.    The Adelanto Facility was called “the deadliest detention center of 2017”
   2
       by immigrant rights activists because more detainees died there than in any other
   3
   4
       detention center in the United States that year.14

   5          35.    A peer-reviewed study released in 2017 found that detainees held six
   6
       months or more in the Adelanto Facility experienced lower likelihoods of receiving any
   7
       in-person visitation with their children as well as fewer total visits.15
   8
   9          36.    Despite this track record, GEO maintains a corporate policy and uniform
  10
       practice of withholding sufficient food, water, and hygiene products from the detainees
  11
       at the Adelanto Facility. As a result, detainees are forced to either purchase these daily
  12
  13   necessities from the Facility’s commissary or go without.
  14          37.    By maintaining these harsh conditions and purposely withholding basic
  15
       necessities from detainees, GEO ensures an available labor pool of detainees will work
  16

  17   for only $1 per day, thus allowing it to continue operating the Adelanto Facility at an
  18   enormous profit.
  19

  20
  21
  22
  23
       14
          Detention Watch Network, “Third Death in Immigration Detention Makes the
  24   Adelanto Detention Center the Deadliest Facility in 2017,” (June 2, 2017), available at
  25   https://www.detentionwatchnetwork.org/pressroom/releases/2017/third-death-
       immigration-detention-makes-adelanto-detention-center-deadliest
  26   15
          Caitlin Patler and Nicolas Branic, “Patterns of Family Visitation During Immigration
  27
       Detention,” RSF: The Russell Sage Foundation Journal of the Social Sciences, vol. 3
       no. 4 18-36 (July 2017) available at
  28   http://www.rsfjournal.org/doi/pdf/10.7758/RSF.2017.3.4.02
                                                     9                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 10 of 29 Page ID #:374



    1   D.         GEO uses detainees to clean, maintain, and operate the Adelanto Facility.
    2
                   38.   Through its so-called Voluntary Work Program (the “Work Program”),
    3
    4
        GEO hires detainees to perform work that directly contributes to institutional

    5   operations, at a rate of $1 per day.16
    6
                   39.   Despite its name, the Work Program is not “voluntary.” Instead, GEO
    7
        maintains a corporate policy and uniform practice at the Adelanto Facility of
    8
    9   withholding necessary care from its detainees. As a result, detainees are forced to submit
   10
        to GEO’s $1 per day scheme in order to buy necessities – including food, water, and
   11
        hygiene products – that GEO refuses to provide for them.
   12
   13              40.   Further, GEO maintains a corporate policy and uniform practice at the
   14   Facility of threatening to place those who refuse to work into solitary confinement.
   15
        These conditions, policies, and practices ensure that detainees continue working for
   16

   17   subminimum wages.
   18              41.   In the Work Program, detainees are required to work according to an
   19
        assigned work schedule and to participate in work-related training. At all times, GEO
   20
   21   controls detainees’ wages, hours, and working conditions.

   22              42.   GEO provides all necessary personal protection equipment and work
   23
        uniforms. For example, kitchen workers are provided with and required to wear a white
   24
   25
        top/bottom uniform with a white apron, rubberized work boots, beard guards and

   26   hairnets, and freezer jackets and gloves as needed.
   27
   28   16
             Id.
                                                    10                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 11 of 29 Page ID #:375



    1         43.    GEO records the hours detainees work and periodically credits wages to
    2
        their accounts.
    3
    4
              44.    The detainee workers are “employees,” and GEO is an “employer” under

    5   California’s minimum wage laws.
    6
              45.    GEO informs all detainees entering the Adelanto Facility that the
    7
        following work assignments may be available through the Work Program:
    8
    9                a. Intake
   10
                     b. Kitchen Worker
   11
                     c. Recreation
   12
   13                d. Library
   14                e. Barber
   15
                     f. Laundry
   16

   17                g. Living area clean-up/janitorial
   18                h. Evening workers (facility janitorial)
   19
                     i. Maintenance
   20
   21         46.    In the course of their labor and employment by GEO, detainees employed

   22   in the Work Program performed a wide range of work, including but not limited to:
   23
                     a. Scrubbing bathrooms, showers, toilets, and windows;
   24
   25
                     b. Cleaning and maintaining GEO’s on-site medical facility;

   26                c. Cleaning patient rooms and medical staff offices;
   27
   28
                                                    11                      5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 12 of 29 Page ID #:376



    1                d. Sweeping, mopping, stripping, and waxing floors throughout the
    2
                          facility;
    3
    4
                     e. Washing detainee laundry;

    5                f. Preparing, cooking, and serving detainee meals;
    6
                     g. Washing dishes;
    7
                     h. Cleaning the kitchen and cafeteria before and after detainee meals;
    8
    9                i. Performing clerical work for GEO;
   10
                     j. Running and managing the law library;
   11
                     k. Providing barber services to detainees;
   12
   13                l. Cleaning intake areas and solitary confinement units; and
   14                m. Cleaning and maintaining recreational areas.
   15
              47.    The Work Program allows GEO to avoid recruiting from the traditional
   16

   17   labor market, complying with the terms of its union contracts, and paying all costs
   18   associated with potential, current, and former employment relationships, thereby
   19
        reducing operational costs and increasing its own profits.
   20
   21         48.    GEO does not pay and has not paid detainees the state minimum wage –

   22   currently, $10.50 per hour – for the hours they worked at the Adelanto Facility.
   23
              49.    GEO’s contract with ICE requires GEO to comply with all federal, state,
   24
   25
        and local laws.

   26
   27
   28
                                                    12                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 13 of 29 Page ID #:377



    1           50.   No clause in GEO’s contract with ICE or any rule or standard
    2
        incorporated by reference into the contract requires GEO to maximize its profits by
    3
    4
        paying detainees sub-minimum wages.

    5           51.   GEO’s pay policies violate California’s minimum wage laws.
    6
        E.      Plaintiff Novoa’s employment at the Adelanto Facility
    7
                52.   Mr. Novoa is citizen of Mexico and a legal permanent resident of the
    8
    9   United States. He has lived in Los Angeles since age four.
   10
                53.   Mr. Novoa is employed by a commercial construction company to
   11
        complete roofing, tiling, drywalling, and framing projects. He currently earns $15.65 per
   12
   13   hour.
   14           54.   Mr. Novoa was detained at the Adelanto Facility from June 2012 through
   15
        February 2015.
   16

   17           55.   Mr. Novoa has performed work for GEO at the Adelanto Facility and was
   18   not paid the state minimum wage for the work he has performed.
   19
                56.   As a janitor, Mr. Novoa worked in a five-person crew to clean windows,
   20
   21   floors, showers, bathrooms, and communal areas in the Facility. He worked four-hour

   22   shifts, up to seven days per week. He used cleaning supplies and equipment provided by
   23
        GEO.
   24
   25
                57.   As a barber, Mr. Novoa provided haircutting services to other detainees.

   26   He worked up to 10 hours per day, seven days per week. He used barber supplies and
   27
        equipment provided by GEO.
   28
                                                    13                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 14 of 29 Page ID #:378



    1          58.    In return for this labor, GEO paid Mr. Novoa $1 per day, regardless of the
    2
        number of hours he worked. GEO credited these wages to Mr. Novoa’s commissary
    3
    4
        account.

    5          59.    GEO withheld daily necessities from Mr. Novoa, thereby forcing him to
    6
        work for subminimum wages in order to buy those daily necessities for himself and
    7
        avoid serious harm, including, but not limited to, malnutrition, unsanitary living quarters,
    8
    9   extreme isolation, and unhygienic conditions of confinement.
   10
               60.    During his detention, Mr. Novoa was often undernourished and
   11
        dehydrated because GEO withheld sufficient food and water. He was also served rotten
   12
   13   meat, moldy bread, and inedible produce.
   14          61.    The drinking water provided by GEO ran black for days at a time and
   15
        caused nausea or headaches if ingested.
   16

   17          62.    Mr. Novoa lost approximately 30 pounds in detention at the Adelanto
   18   Facility.
   19
               63.    In order to survive, Mr. Novoa purchased food and water from the
   20
   21   commissary using his wages from the Work Program.

   22          64.    GEO did not provide Mr. Novoa with sufficient quantities of shampoo,
   23
        lotion, or soap. As a result, Mr. Novoa was often forced to purchase those necessities
   24
   25
        from the commissary using his wages from the Work Program.

   26          65.    On several occasions, Mr. Novoa developed a blistering sunburn on his
   27
        face. GEO did not provide him with sunscreen, even after he requested it from medical
   28
                                                     14                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 15 of 29 Page ID #:379



    1   personnel. Instead, Mr. Novoa was forced to purchase sunscreen from the commissary
    2
        using his wages form the Work Program.
    3
    4
              66.    The shoes issued to Mr. Novoa when he arrived at the Adelanto Facility

    5   fell apart within his first week in detention. GEO did not replace them. Instead, Mr.
    6
        Novoa was forced to purchase another pair of shoes from the commissary using his
    7
        wages from the Work Program.
    8
    9         67.    Mr. Novoa spent his wages on soap, shampoo, lotion, sunscreen, food,
   10
        clean drinking water, shoes, and other necessities. These items were not provided to Mr.
   11
        Novoa regularly or in sufficient quantities. Some of these necessities, like sunscreen,
   12
   13   were not provided to Mr. Novoa at all.
   14         68.    Officers threatened to put Mr. Novoa in disciplinary segregation, i.e.,
   15
        solitary confinement, if he stopped working, encouraged other detainees to stop working
   16

   17   or complained about subminimum wages.
   18         69.    On several occasions, officers threatened to or actually forced Mr. Novoa
   19
        to move to a different dorm – isolated from his peers and friends – after he complained
   20
   21   about the Work Program, subminimum wages and/or the deprivation of necessities at

   22   the Adelanto Facility. During these transfers, officers would “toss” Mr. Novoa’s dorm
   23
        by throwing his belongings and papers in disarray. As a result of these actions, Mr.
   24
   25
        Novoa felt harassed, intimidated, threatened, and embarrassed.

   26         70.    Officers threatened to segregate detainees who complained about the
   27
        Work Program, working conditions, and/or subminimum wages.
   28
                                                   15                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 16 of 29 Page ID #:380



    1          71.    If given a meaningful choice, Mr. Novoa would not have worked for $1
    2
        per day.
    3
    4
               72.    GEO falsely led Mr. Novoa to believe the corporation could not pay him

    5   more than $1 per day, despite the fact that it does so as a matter of course at several of
    6
        its other immigration detention facilities.
    7
               73.    Mr. Novoa provided GEO with his labor because GEO’s threats of
    8
    9   serious harm and/or abuse of the legal process if he refused to work.
   10
               74.    GEO retained the value of Mr. Novoa’s labor by realizing this value as
   11
        corporate profits, rather than using it to provide for safer, more humane living
   12
   13   conditions for detainees at the Adelanto Facility.
   14                             CLASS ACTION ALLEGATIONS
   15
               75.    Plaintiff brings this lawsuit as a class action on behalf of himself, and all
   16

   17   others similarly situated as members of the proposed classes, under Federal Rules of
   18   Civil Procedure 23(a) and (b)(3). This action satisfies the numerosity, commonality,
   19
        typicality, adequacy, predominance, and superiority requirements of those provisions.
   20
   21   A.     Class Definition

   22          76.    Plaintiff seeks to certify the following class: All civil immigration detainees
   23
        who performed work for GEO at the Adelanto Detention Center in the Work Program
   24
   25
        since GEO assumed responsibility for the Facility in May 2011.

   26          77.    Excluded from the definition are the defendants, their officers, directors,
   27
        management, employees, subsidiaries, and affiliates, and all federal governmental
   28
                                                      16                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 17 of 29 Page ID #:381



    1   entities. Plaintiff reserves the right to revise the Class Definition based upon information
    2
        learned through discovery.
    3
    4
        B.     Class Certification Requirements under Rule 23

    5          78.    Numerosity: Rule 23(a)(1). Each class is so numerous that joinder of all
    6
        members is impracticable. Plaintiff does not know the exact size of the class since that
    7
        information is within the control of GEO. However, upon information and belief,
    8
    9   Plaintiff alleges that the number of class members is numbered in the thousands.
   10
        Membership in the class is readily ascertainable from GEO’s detention and employment
   11
        records.
   12
   13          79.    Commonality and Predominance: Rules 23(a)(2) and 23(b)(3). There
   14   are numerous questions of law or fact common to the Class, and those issues
   15
        predominate over any question affecting only individual class members. The common
   16

   17   legal and factual issues include the following:
   18                 a. Whether Plaintiff and the Class Members were entitled to the
   19
                         protections of the California Minimum Wage Order;
   20
   21                 b. Whether Plaintiff and the Class Members performed compensable

   22                    work;
   23
                      c. Whether Plaintiff and the Class Members were paid $1 per day for their
   24
   25
                         labor;

   26                 d. Whether GEO engaged in conduct that violated California law –
   27
                         including the California Minimum Wage Order, the California Unfair
   28
                                                     17                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 18 of 29 Page ID #:382



    1                    Competition Law, and the California Trafficking Victims Protection
    2
                         Act;
    3
                      e. Whether GEO engaged in conduct that violated the federal Trafficking
    4
    5                    Victims Protection Act;
    6
                      f. Whether Plaintiff and the Class Members are entitled to equitable relief,
    7
                         including injunctive and declaratory relief; and
    8
    9                 g. Whether Plaintiff and the Class members are entitled to damages and

   10
                         other monetary relief and, if so, in what amount.
   11
               80.    Typicality: Rule 23(a)(3). The claims asserted by Plaintiff is typical of
   12
   13   the claims of the Class, in that the representative plaintiff, like all Class Members, was
   14   paid subminimum wages while employed by GEO at the Adelanto Facility. Each
   15
        member of the proposed Class has been similarly injured financially by GEO’s
   16

   17   misconduct.
   18          81.    Adequacy: Rule 23(a)(4). Plaintiff will fairly and adequately protect the
   19
        interests of the Class. Plaintiff has retained attorneys experienced in class and complex
   20
   21   litigation, including wage and hour class action litigation. Plaintiff intends to vigorously

   22   prosecute this litigation. Neither Plaintiff nor his counsel have interests that conflict with
   23
        the interests of the other class members.
   24
   25
               82.    Superiority: Rules 23(b)(3). Plaintiff and the Class Members have all

   26   suffered and will continue to suffer harm and damages as a result of GEO’s wrongful
   27
        conduct. A class action is superior to other available methods for the fair and efficient
   28
                                                      18                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 19 of 29 Page ID #:383



    1   adjudication of the controversy. Treatment as a class action will permit a large number
    2
        of similarly situated persons to adjudicate their common claims in a single forum
    3
    4
        simultaneously, efficiently, and without the duplication of effort and expense that

    5   numerous individual actions would engender. Class treatment will also permit the
    6
        adjudication of claims by many members of the proposed class who could not
    7
        individually afford to litigate a claim such as is asserted in this complaint. This class
    8
    9   action likely presents no difficulties in management that would preclude maintenance as
   10
        a class action.
   11
                                         CAUSES OF ACTION
   12
   13                                       COUNT I
                               CALIFORNIA MINIMUM WAGE LAW
   14                           Cal. Labor Code §§ 1194, 1197, 1197.1
   15
               83.     Plaintiff realleges and incorporate by reference herein all allegations above.
   16

   17          84.     The California Legislature set the following minimum wages for 2011-
   18   2017:17
   19
                  January 1, 2017        $10.50 for employers with 26 employees or more
   20
   21             January 1, 2014        $9.00

   22             January 1, 2008        $8.00
   23
   24
   25
   26
   27   17
          See http://www.dir.ca.gov/iwc/MinimumWageHistory.htm/;
   28   https://www.dir.ca.gov/dlse/faq_minimumwage.htm
                                               19                                 5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 20 of 29 Page ID #:384



    1            85.   The minimum wage is an obligation of the employer and cannot be waived
    2
        by any agreement.
    3
    4
                 86.   Detainees at the Adelanto Facility do not forfeit their rights to wage

    5   protections.
    6
                 87.   Employees protected by California’s minimum wage laws must be paid at
    7
        least the set hourly minimum wage.
    8
    9            88.   Detainees at the Adelanto Facility who participate in the Work Program
   10
        qualify as employees of GEO under California law.
   11
                 89.   GEO qualifies as an employer under California law.
   12
   13            90.   Labor in the immigration detention context is not intended as a punitive
   14   measure.
   15
                 91.   GEO does not compensate detainees the state minimum wage for the
   16

   17   work they performed at the Adelanto Facility. Instead, GEO pays detainees $1 per day
   18   for work they perform at its facility.
   19
                 92.   Plaintiffs seek to recover, on their own behalf and on behalf of all others
   20
   21   similarly situated, unpaid minimum wages and costs of this suit.

   22                                         COUNT II
   23                                 UNJUST ENRICHMENT
                                       California Common Law
   24
   25
                 93.   Plaintiff realleges and incorporates by reference herein all allegations

   26   above.
   27
   28
                                                     20                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 21 of 29 Page ID #:385



    1            94.   GEO materially and significantly reduced its labor costs and expenses, and
    2
        increased its profits, because Plaintiff and Class Members perform undercompensated
    3
    4
        labor.

    5            95.   Plaintiff and Class Members conferred non-gratuitous benefits upon GEO
    6
        by performing work for $1 per day, for which GEO would otherwise have had to pay
    7
        at least the applicable minimum wage or more, thereby significantly and materially
    8
    9   increasing GEO’s profits, unjustly enriching GEO at the expense of and detriment to
   10
        Plaintiff and Class Members.
   11
                 96.   GEO’s retention of any benefit collected directly and indirectly from this
   12
   13   uncompensated labor violated principles of justice, equity, and good conscience.
   14            97.   As a direct and proximate result of GEO’s forced labor practices, Plaintiff
   15
        and Class Members have suffered concrete harm and injury, including physical and
   16

   17   emotional injury, monetary loss, and the unlawful violation of their rights.
   18            98.   Plaintiff and Class Members are entitled to recover from GEO all amounts
   19
        that GEO has wrongfully and improperly obtained, and GEO should be required to
   20
   21   disgorge to Plaintiff and the Class Members the benefits it has unjustly obtained. Plaintiff

   22   and Class Members are also entitled to recover exemplary damages. C.R.S. § 13- 21-102.
   23
                                           COUNT III
   24                     CALIFORNIA UNFAIR COMPETITION LAW
   25
                              Cal. Bus. & Prof. Code § 17200, et seq.

   26            99.   Plaintiff realleges and incorporates by reference herein all allegations
   27
        above.
   28
                                                     21                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 22 of 29 Page ID #:386



    1            100.   California’s Unfair Competition      Law (“UCL”)        prohibits unfair
    2
        competition, defined as “any unlawful, unfair or fraudulent business act or practice and
    3
    4
        unfair, deceptive, untrue or misleading advertising and any act prohibited by [California’s

    5   False Advertising Law].” Cal. Bus. & Prof. Code § 17200.
    6
                 101.   GEO willfully violated, and continues to violate, the “unlawful” prong of
    7
        the UCL by violating California labor law.
    8
    9            102.   The acts, omissions, and practices of GEO constitute unfair and unlawful
   10
        business acts and practices under the UCL in that GEO’s conduct offends public policy
   11
        against forced labor and seeks to profit by violating Plaintiffs’ rights under state and
   12
   13   federal law.
   14            103.   As a direct and proximate result of GEO’s unlawful and unfair business
   15
        practices, Plaintiff and the Class Members have suffered economic injury.
   16

   17                                 COUNT IV
                  CALIFORNIA TRAFFICKING VICTIMS PROTECTION ACT
   18                            Cal. Civ. Code § 52.5
   19
                 104.   Plaintiff realleges and incorporates by reference herein all allegations
   20
   21   above.

   22            105.   Pursuant to the California Trafficking Victims Protection Act, Cal. Civ.
   23
        Code § 52.5, “a victim of human trafficking, as defined in Section 236.1 of the Penal
   24
   25
        Code, may bring a civil action for actual damages, compensatory damages, punitive

   26   damages, injunctive relief, any combination of those, or any other appropriate relief.”
   27
   28
                                                     22                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 23 of 29 Page ID #:387



    1          106.   Human trafficking is defined as the deprivation or violation of the personal
    2
        liberty of another “with the intent to obtain forced labor or services.” Cal. Penal Code
    3
    4
        § 236.1.

    5          107.   Forced labor or services is defined as “labor or services that are performed
    6
        or provided by a person and are obtained or maintained through force, fraud, duress, or
    7
        coercion, or equivalent conduct that would reasonably overbear the will of the
    8
    9   person.” Cal. Penal Code § 236.1(h)(5).
   10
               108.   GEO materially and significantly reduced its labor costs and expenses, and
   11
        increased its profits, by unlawfully forcing and coercing Plaintiff and the Class Members
   12
   13   to perform uncompensated labor. In order to drive profits, GEO acted with the intent
   14   to obtain forced labor or services from its detainees.
   15
               109.   As alleged herein, GEO did not and does not provide detainees at the
   16

   17   Adelanto Facility with sufficient provisions and necessities for daily life. In order to
   18   purchase these necessary items, including bottled water and extra food, Plaintiff and the
   19
        Class Members were forced or coerced to perform labor and services for GEO for $1
   20
   21   per day.

   22          110.   Plaintiff and Class Members are entitled to recover from GEO all amounts
   23
        that GEO has wrongfully and improperly obtained, and GEO should be required to
   24
   25
        disgorge to Plaintiff and the Class Members the benefits it has unjustly obtained. Plaintiff

   26   and Class Members are also entitled to recover exemplary damages. C.R.S. § 13- 21-102.
   27
   28
                                                     23                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 24 of 29 Page ID #:388



    1                                         COUNT V
    2                              ATTEMPTED FORCED LABOR
                                    18 U.S.C. §§ 1589(a) & 1594(a)
    3
    4
                 111.   Plaintiff realleges and incorporates by reference herein all allegations

    5   above.
    6
                 112.   Plaintiff and the Class Members are victims of attempted forced labor as
    7
        defined by 18 U.S.C. § 1589(a).
    8
    9            113.   GEO attempts to violate 18 U.S.C. § 1589(a)(2) by knowingly maintaining
   10
        a corporate policy and uniform practice at the Adelanto Facility aimed at obtaining
   11
        nearly free detainee labor and services by:
   12
   13                   a. Withholding daily necessities from Plaintiff and the Class Members,
   14                      thereby forcing them to work for subminimum wages in order to buy
   15
                           those daily necessities for themselves and avoid serious harm, including,
   16

   17                      but not limited to, malnutrition, unsanitary living quarters, extreme
   18                      isolation, and unhygienic conditions of confinement;
   19
                        b. Threatening Plaintiff and the Class Members with physical restraint,
   20
   21                      serious harm, and abuse of law or legal process if they refuse to provide

   22                      their labor, organize a work stoppage, or participate in a work stoppage;
   23
                 114.   GEO further violated 18 U.S.C. § 1589 by maintaining a corporate policy
   24
   25
        and uniform practice at the Adelanto Facility of threatening to put Plaintiff and the Class

   26   Members with serious harm, including solitary confinement, referral to an ICE officer,
   27
        or criminal prosecution if they refused to work.
   28
                                                      24                          5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 25 of 29 Page ID #:389



    1          115.   GEO attempted to perpetrate the offense of forced labor against Plaintiff
    2
        and the Class Members.
    3
    4
               116.   GEO knowingly benefitted financially from participation in a venture

    5   GEO knew or should have known engaged in unlawful coercion of labor in violation of
    6
        18 U.S.C. § 1589.
    7
               117.   Plaintiff and the Class Members have suffered damages in an amount to
    8
    9   be determined at trial.
   10
               118.   Plaintiff and the Class Members are entitled to recover compensatory and
   11
        punitive damages.
   12
   13          119.   Plaintiff and the Class Members are entitled to recover mandatory
   14   restitution in the full amount of their losses.
   15
               120.   Plaintiff and the Class Members are entitled to recover their reasonable
   16

   17   attorney’s fees.
   18                                   PRAYER FOR RELIEF
   19
               WHEREFORE, Plaintiff, individually and on behalf of the Class, requests that
   20
   21   the Court:

   22          a. Certify this action as a class action, with a class as defined above;
   23
               b. Find that Plaintiff is a proper representative of the Class, and appoint the
   24
   25
                  undersigned as Class Counsel;

   26          c. Order GEO to pay for notifying Class Members of the pendency of this suit;
   27
   28
                                                      25                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 26 of 29 Page ID #:390



    1         d. Order disgorgement of GEO’s unjustly-acquired revenue, profits, and other
    2
                 benefits resulting from its unlawful conduct;
    3
    4
              e. Award declaratory and other equitable relief as is necessary to protect the

    5            interests of Plaintiff and Class Members;
    6
              f. Award injunctive relief as is necessary to protect the interests of Plaintiff and
    7
                 Class Members, including enjoining GEO from continuing to conduct
    8
    9            business through the unlawful and unfair practices alleged herein;
   10
              g. Award Plaintiff and Class Members monetary damages for lost wages in an
   11
                 amount to be determined at trial;
   12
   13         h. Award Plaintiff and Class members their reasonable litigation expenses and
   14            attorneys’ fees; and
   15
              i. Award any further relief that the Court deems just and equitable.
   16

   17   Dated: July 6, 2018
   18                                           Respectfully Submitted,
   19
                                                /s/ Korey A. Nelson
   20                                           Korey A. Nelson (admitted pro hac vice)
   21                                           knelson@burnscharest.com
                                                LA Bar # 30002
   22                                           Lydia A. Wright (admitted pro hac vice)
   23                                           lwright@burnscharest.com
                                                LA Bar # 37926
   24                                           BURNS CHAREST LLP
   25                                           365 Canal Street, Suite 1170
                                                New Orleans, LA 70130
   26                                           Telephone: (504) 799-2845
   27                                           Facsimile: (504) 881-1765

   28
                                                     26                        5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 27 of 29 Page ID #:391



    1                                     R. Andrew Free (admitted pro hac vice)
    2                                     andrew@immigrantcivilrights.com
                                          TN Bar # 030513
    3                                     LAW OFFICE OF R. ANDREW FREE
    4
                                          P.O. Box 90568
                                          Nashville, TN 37209
    5                                     Telephone: (844) 321-3221
                                          Facsimile: (615) 829-8959
    6
    7                                     Robert Ahdoot (CA Bar # 172098)
                                          rahdoot@ahdootwolfson.com
    8
                                          Tina Wolfson (CA Bar # 174806)
    9                                     twolfson@ahdootwolfson.com
                                          Vanessa Shakib (CA Bar # 287339)
   10
                                          vshakib@ahdootwolfson.com
   11                                     AHDOOT & WOLFSON, PC
                                          10728 Lindbrook Drive
   12
                                          Los Angeles, California 90024-3102
   13                                     Telephone: (310) 474-9111
                                          Fax: (310) 474-8585
   14
   15                                     Nicole Ramos (admitted pro hac vice)
                                          nicole@alotrolado.org
   16                                     NY Bar # 4660445
   17                                     AL OTRO LADO
                                          511 E. San Ysidro Blvd., # 333
   18                                     San Ysidro, CA 92173
   19                                     Telephone: (619) 786-4866

   20                                     Will Thompson (CA Bar # 289012)
   21                                     wthompson@burnscharest.com
                                          Warren Burns (admitted pro hac vice)
   22                                     wburns@burnscharest.com
   23                                     TX Bar # 24053119
                                          Daniel H. Charest (admitted pro hac vice)
   24                                     dcharest@burnscharest.com
   25
                                          TX Bar # 24057803
                                          BURNS CHAREST LLP
   26                                     900 Jackson St., Suite 500
                                          Dallas, Texas 75202
   27
                                          Telephone: (469) 904-4550
   28                                     Facsimile: (469) 444-5002
                                             27                         5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 28 of 29 Page ID #:392



    1
    2
                                          Attorneys for Plaintiff.
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16

   17
   18
   19

   20
   21
   22
   23
   24
   25
   26
   27
   28
                                             28                      5:17-cv-02514-JGB
Case 5:17-cv-02514-JGB-SHK Document 47 Filed 07/06/18 Page 29 of 29 Page ID #:393



    1                              CERTIFICATE OF SERVICE
    2
              On July 6, 2018, I electronically submitted the foregoing document with the clerk
    3
    4
        of the court for the U.S. District Court, Central District of California, using the

    5   electronic case filing system. I hereby certify that I have provided copies to all counsel
    6
        of record electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).
    7
    8
    9                                                     /s/ Korey A. Nelson
   10                                                    Korey A. Nelson (admitted pro hac vice)
                                                         knelson@burnscharest.com
   11                                                    LA Bar # 30002
   12                                                    Lydia A. Wright (admitted pro hac vice)
                                                         lwright@burnscharest.com
   13                                                    LA Bar # 37926
   14                                                    BURNS CHAREST LLP
                                                         365 Canal Street, Suite 1170
   15                                                    New Orleans, LA 70130
   16                                                    Telephone: (504) 799-2845
                                                         Facsimile: (504) 881-1765
   17
   18
   19

   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                    29                          5:17-cv-02514-JGB
